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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF GEORGIA
                                  VALDOSTA DIVISION

JERRY McLEOD,                                 *
                                              *
                              Plaintiff,      *
                                              *
               v.                             *       Civil Action No. 7:20-cv-244
                                              *
MIKE DEWEY and MIKE BASS,                     *
                                              *
                              Defendants.     *


   DEFENDANTS’ REQUESTS FOR ADMISSIONS PROPOUNDED TO PLAINTIFF

       COME NOW, Defendants in the above-styled action and pursuant to Fed. R. Civ. P. 26 and

34, hereby request that Plaintiff answer within thirty (30) days these Requests for Admissions:

                               REQUESTS FOR ADMISSIONS

       1.      Admit that on or about March 21, 2017, you were released from custody pursuant to

the Blanket Bond Order attached hereto as Exhibit “A”.

       2.      Admit that as of July 25, 2019, there had been no resolution of the criminal charges

reflected on Exhibit “A”.

       3.      Admit that on July 25, 2019, you were subject to the conditions set forth in the

Blanket Bond Order attached hereto as Exhibit “A”.

       4.      Admit that on July 25, 2019, you owned, possessed ,or were otherwise caring for one

or more animals.

       5.      Admit that on July 25, 2019, at least one dog was chained or tied up on your property.

       6.      Admit that you were taken into custody by Mike Bass on July 25, 2019 for a violation

of your bond conditions.
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      This the 23rd day of January, 2023.

                                            BROWN, READDICK, BUMGARTNER,
                                            CARTER, STRICKLAND & WATKINS, LLP

                                            /s/ Bradley J. Watkins
                                            Bradley J. Watkins
                                            Georgia Bar Number: 740299
                                            bwatkins@brbcsw.com

                                            /s/ Amanda L. Szokoly
                                            Amanda L. Szokoly
                                            Georgia Bar Number: 403412
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(912) 264-8544
(912) 264-9667                              ATTORNEYS FOR DEFENDANTS
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                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the foregoing discovery responses by

by addressing same to:


                                     Mr. R. Jerry McLeod
                                   1675 Liberty Church Road
                                      Boston GA 31626


and depositing same in the United States Mail with sufficient postage affixed to assure delivery.

       This the 23rd day of January, 2023.


                                             /s/ Brad Watkins
                                             Bradley J. Watkins
                                             Georgia Bar Number: 740299

                                              ATTORNEY FOR DEFENDANTS


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